













Opinion issued July 9, 2009







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-09-00375-CV
____________

TODD I. WHITE,  Appellant

V.

DYCK O’ NEAL, INC.,  Appellee




On Appeal from the 127th District Court
Harris County, Texas
Trial Court Cause No. 0845770




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Todd I. White has filed a motion to dismiss his appeal.  More than
10 days have elapsed, and no objection has been filed.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P.
42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Keyes, Hanks, and Bland.


